Case: 4:08-cr-00548-HEA          Doc. #: 87        Filed: 12/01/09     Page: 1 of 2 PageID #: 185




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       No. 4:08CR548 HEA
                                               )
OBIE ANTHONY,                                  )
                                               )
               Defendant.                      )

                                       AMENDED ORDER

       This matter comes before the Court upon defendant’s Motion to Continue Plea Setting

[Doc. #85] and Waiver of Speedy Trial [Doc. #70].

       This Court, upon careful consideration of the motion of defendant, and on review of the

record, finds that the ends of justice would best be served by continuing the trial setting in this

matter to a change of plea setting as to defendant Obie Anthony to January 6, 2010, at 11:30 a.m.

and that a continuance of these proceedings outweighs the best interest of the public and the

defendant in a speedy trial. Furthermore, failure to grant a continuance would deny counsel for

the defendant and the Government the reasonable time necessary for effective preparation, taking

into account the exercise of due diligence.

       Defendant has filed with this Court a signed Waiver of Speedy Trial under the Speedy

Trial Act, 18 U.S.C. §3161, [Doc. #70].

       Concluding that the administration of justice will best be served by continuing this case,

the Court will reset the trial setting in this matter to a change of plea hearing on January 6, 2010.

       Accordingly,

       IT IS HEREBY ORDERED that the trial setting as to Defendant Obie Anthony is
Case: 4:08-cr-00548-HEA          Doc. #: 87        Filed: 12/01/09   Page: 2 of 2 PageID #: 186




changed to a change of plea hearing and is set for January 6, 2010, at 11:30 a.m. This is the final

continuance the Court will grant in this matter.

       Dated this 1st day of December, 2009.



                                              ________________________________________
                                                    HENRY EDWARD AUTREY
                                                  UNITED STATES DISTRICT JUDGE




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